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IN THE UNITED sTATES DISTRICT COURT
FoR THE WESTERN DISTRICT 0F TENNESSEE 05 JUH `3 PH '2= '*"
WESTERN DIVISION soBEr-zr n oz inoch

MEMPHIS CENTER FOR INDEPENDENT LIVING,
Plaintiff,
v. Case No. 01-2069 D
RICHARD AND MILTON GRANT CO., et al.,
Defendants,
and
UNITED STATES OF AMERICA,
Plaintiff-Intervenor,
v.

RICHARD AND MILTON GRANT CO., et al.,

Defendants.
Defendant/Counter-Plaintiff.

 

ORDER GRANTING PLAINTIFF’S SUPPLEMENTAL MOTION FOR ORDER
REQUIRING DEFENDAN'I`S TO SUBMIT A FULL REMEDIAL PLAN (dkt. # 536)

 

Before the Court is the motion of the United States (“Plaintiff”) for an order requiring Parker,
Estes & Associates, lnc.; Richard and Milton Grant Co.; J. Richard Grant; and Milton Grant
(“Defendants”) to submit a full remedial plan. Defendants oppose the motion on various grounds
F or the following reasons, the Court GRANTS Plaintiff’ s motion to compel Defendants to submit

a full remedial plan.

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l. PROCEDURAL HISTORY

On J'anuary 25, 2001, Plaintiff initiated the instant action against Defendants for violations
ofthe Fair Housing Act (“FHA”), 42 U.S.C. §§ 3601 - l 9. On April 7, 2004, the Court granted in part
Plaintif`f" s motion for summary judgment The Court concluded that Defendants had violated the
FHA and granted Plaintif`f"s motion for summary judgment as to l) the routes from all ground floor
units to on~site amenities and public streets, 2) clubhouses, 3) Wyndham mail kiosks, 4) parking at
complex amenities, 5) Wyndham doorways, 6) Wyndham_ thermostats, 7) reinforcements in
Wyndharn bathroom walls, and 8) wheelchair accessibility of all ground floor kitchens and
bathrooms. The Court denied Plaintiff" s motion for summary judgment with respect to resident
parking, visitor parking, and reinforcements in Camden bathroom walls. On June 29, 2004, the
Court granted in part Defendants’ motion for summary judgment as to resident parking

Defendants filed a petition for interlocutory appeal as to three findings in the Court’s order
granting in part Plaintiff" s motion for summary j udgrn ent. On November 4, 2004, the United States
Court of Appeals for the Sixth Circuit denied Def`endants’ petition for permission to appeal. On
November 24, 2004, Plaintif`f filed a motion for an order requiring Defendants to submit a full
remedial plan with respect to those issues resolved in the Court’s order granting in part Plaintiff"s
motion for summary judgment A trial is scheduled on June 12, 2006, as to the remaining issues.
II. ANALYSIS

Plaintiff moves the Court to require Defendants to submit a remedial plan which specifies
how they will correct the FHA violations previously determined by the Court. Defcndants oppose
the motion, asserting that l)Defendants will appeal this Court’s findings after the final judgment is

entered in the case, 2 ) performing retrofits that may be the subject of a later appeal constitutes

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irreparable harm and is an inefficient use of resources; 3) Plaintiff has failed to demonstrate any
injury suffered by Plaintiff by waiting until a final judgment is entered before requiring a remedial
plan, and 4) Plaintiff’ s motion to compel a remedial plan includes items not contained in the Court’s
orders. As discussed below, the Court finds the first three arguments unavailing The Court agrees,
however, with Defendants’ fourth argument As such, the Court will not require the inclusion of
items not previously considered by this Court in the remedial plan.

With respect to Defendants’ assertion that they may appeal the Court’s findings after the
entry of a final judgment, the Court notes that requiring Defendants to prepare a remedial plan as to
those issues decided in the partial summary judgment order would not prohibit them from later
appealing the final judgment As P]aintiff points out, the development of a remedial plan as to the
retrofits does not require the actual implementation of the retrofits prior to an appeal. Thus,
requiring Defendants to draft a remedial plan would not serve to hinder Defendants’ later appeal of
the final judgment

Next, Defendants argue that they will suffer irreparable harm if required to submit a remedial
plan. in so arguing, Defendants contend that requiring them to implement a plan for retrofits prior
to a final judgment would result in their tenants being potentially inconvenienced twice and would
potentially require them to make retrofits twice. Although Defendants’ concerns are legitimate, the
Court again points out that requiring Def`endants to submit a remedial plan does not necessarily
require the implementation of the plan prior to the entry of the final judgment Moreover, requiring
Def`endants to draft a remedial plan as to the issues already decided is more efficient than waiting
until after the trial in this matter, which is over a year from now. The Court has already ruled on a

majority of the alleged FHA violations, and as such, there are relatively few issues remaining for

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trial.

Defendants also argue that Plaintiff has not established that anyone will be harmed by waiting
until the entry of a final judgment to submit a remedial plan. The Court cannot reconcile this
argument, however, with its finding that Def`endants have violated the FHA such that their
apartments are not accessible to individuals with disabilities The FHA violations would prohibit
disabled individuals who wished to live in Wyndham and Camden Grove from doing so. Thus, it
is not clear how Defendants can posit this argument

Finally, Defendants oppose PlaintifF s motion because P]aintiff seeks the inclusion of items
in the remedial plan not covered by the Court’s orders. Specifically, Plaintiff requests that the
remedial plan include the requirements of a third party inspection to insure the compliance of the
retrofits with the FHA and compensation to tenants who maybe inconvenienced by the retrofits The
Court agrees that these are issues not decided by the Court’s order granting partial summary
judgment Furtherrnore, the Court finds that these issues would be better addressed at the conclusion
of the trial in this matter. Accordingly, the Court will not require Defendants to include these items
in the remedial plan at this time.

Based on the foregoing discussion, the Court grants Plaintiff’ s motion to compel Defendants
to submit a full remedial plan as to those issues already decided. Thus, within 60 days of the entry
of this order, Defendants shall prepare and file with the Court a remedial plan detailing how they
intend to remedy the FHA violations, including l) the routes from all ground floor units to on-site
amenities and public streets, 2) clubhouses, 3) Wyndham mail kiosks, 4) parking at complex
amenities, 5) Wyndham doorways, 6) Wyndham thermostats, 7) reinforcements in Wyndham

bathroom walls, and 8) wheelchair accessibility of all ground floor kitchens and bathrooms.

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III. CONCLUSION

For the aforementioned reasons, the Court GRANTS Plaintiff’s motion to compel

Defendants to submit a full remedial plan as to the FHA violations determined by the Court

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ERNICE . DONALD
NITED STATES DISTRICT COURT

 

June 9, 2005 to the parties listed

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